Case 3:20-cr-00042-GMG-RWT Document 6 Filed 11/03/20 Page 1 of 3 PageID #: 40




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF WEST VIRGINIA
                                   MARTINSBURG


UNITED STATES OF AMERICA,



v.                                                   Criminal No. 3:20-MJ- 127

TIMOTHY JOHN WATSON,
                  Defendant.

                          MOTION FOR PRETRIAL DETENTION

       The United States moves for pretrial detention of defendant pursuant to 18 U.S.C. Section

3142(e) and (f).

       1.   Eligibility of Case. This case is eligible for a detention order because the case

involves (check all that apply):

            ____       a crime of violence, a violation of section 1591, or an offense listed in
                       section 2332b(g)(5)(B) for which a maximum term of imprisonment of 10
                       years or more is prescribed;

            ____       an offense for which the maximum sentence is life imprisonment or death;

            ____       an offense for which a maximum term of imprisonment of ten years or
                       more is prescribed in the Controlled Substances Act (21 U.S.C. 801 et
                       seq.), the Controlled Substances Import and Export Act (21 U.S.C. 951 et
                       seq.), or chapter 705 of title 46;

            ____       any felony if such person has been convicted of two or more offenses
                       described in subparagraphs (A) through (C) of Title 18 U.S.C. Section
                       3142(f)(1), or two or more State or local offenses that would have been
                       offenses described in subparagraphs (A) through (C) of this paragraph if a
                       circumstance giving rise to Federal jurisdiction had existed, or a
                       combination of such offenses; or

            __X__      any felony that is not otherwise a crime of violence that involves a minor
                       victim or that involves the possession or use of a firearm or destructive
                       device (as those terms are defined in section 921), or any other dangerous
                       weapon, or involves a failure to register under section 2250 of title 18,
Case 3:20-cr-00042-GMG-RWT Document 6 Filed 11/03/20 Page 2 of 3 PageID #: 41




                    United States Code;
              __X__ Serious risk defendant will flee;

              __X__ Serious risk obstruction of justice

       2.   Reason for Detention.   The court should detain defendant because there are no

conditions of release which will reasonably assure (check one or both):

                X      Defendant's appearance as required

              _X__     Safety of any other person and the community

       3.   Rebuttable Presumption.

       A rebuttable presumption arises that no condition or combination of conditions will

reasonably assure the safety of any other person and the community because:

              ____    a) the defendant has been convicted of a Federal offense that is described
                      in Title 18 U.S.C. Section 3142(f)(1), or of a State or local offense that
                      would have been an offense described in subsection (f)(1) of this section if
                      a circumstance giving rise to Federal jurisdiction had existed; b) the
                      offense was committed while the defendant was on release pending trial
                      for a Federal, State, or local offense; and c) a period of not more than five
                      years has elapsed since the date of conviction, or the release of the
                      defendant from imprisonment, for that offense whichever is later.

       A rebuttable presumption arises that that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of the community

because the defendant committed:

              ____    an offense for which a maximum term of imprisonment of ten years or
                      more is prescribed in the Controlled Substances Act (21 U.S.C. 801 et
                      seq.), the Controlled Substances Import and Export Act (21 U.S.C. 951 et
                      seq.), or chapter 705 of title 46;

              ____    an offense under section 924(c), 956(a), or 2332b of this title;

              ____    an offense listed in section 2332b(g)(5)(B) of title 18, United States Code,
                      for which a maximum term of imprisonment of 10 years or more is
                      prescribed;

              ____    an offense under chapter 77 of this title for which a maximum term of
Case 3:20-cr-00042-GMG-RWT Document 6 Filed 11/03/20 Page 3 of 3 PageID #: 42




                        imprisonment of 20 years or more is prescribed; or

              ____      an offense involving a minor victim under section 1201, 1591, 2241, 2242,
                        2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3),
                        2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422,
                        2423, or 2425 of this title.

       4.   Time for Detention Hearing.     The United States requests the court conduct the

detention hearing

                            At first appearance

                    X        After continuance of    3    days (not more than 3)

       5.     Other Matters:

DATED this 3rd day of November, 2020.




                                                            _/s/ Jarod J. Douglas______
                                                            Jarod J. Douglas
                                                            Assistant United States Attorney
